       Case 3:17-cr-00136-JLS     Document 40      Filed 02/09/17   PageID.82         Page 1 of 1
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                                                                                CLERK US DISTRICT COURT
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UNITED STATES OF AMERICA,                                                    SOUTHERN DISTRICT OF CAUFORNIA
                                                       Case No. 17CR(fe^fcS

                                      Plaintiff,
                      vs.
                                                       JUDGMENT OF DISMISSAL
MARIA DELCARMEN REYES,

                                    Defendant.



IT APPEARING that the defendant is now entitled to be discharged for the reason that:

      an indictment has been filed in another case against the defendant and the Court has
□     granted the motion of the Government for dismissal of this case, without prejudice; or

      the Court has dismissed the case for unnecessary delay; or
□
[Xf   the Court has granted the motion of the Government for dismissal, without prejudice; or

□     the Court has granted the motion of the defendant for a judgment of acquittal; or

□     a jury has been waived, and the Court has found the defendant not guilty; or

□     the jury has returned its verdict, finding the defendant not guilty;

□     of the offense(s) as charged in the Indictment/Information:




Dated: 2/9/2017
                                                   Hon. Andrew G. Schopler
                                                   United States Magistrate Judge
